                                            COURT OF APPEALS OF VIRGINIA
UNPUBLISHED

              Present: Chief Judge Decker, Judges Raphael and White


              VIRGINIA COMMONWEALTH UNIVERSITY/
               COMMONWEALTH OF VIRGINIA
                                                                             MEMORANDUM OPINION*
              v.     Record No. 1859-23-2                                        PER CURIAM
                                                                                AUGUST 20, 2024
              SABRINA MILLER


                           FROM THE VIRGINIA WORKERS’ COMPENSATION COMMISSION

                              (Jason S. Miyares, Attorney General; Steven G. Popps, Deputy
                              Attorney General; Jacqueline C. Hedblom, Trial Section Chief;
                              Adam L. Katz, Senior Assistant Attorney General, on briefs), for
                              appellant.

                              (Adam J. Dourafei; Lauren Carroll; Commonwealth Law Group, on
                              brief), for appellee.


                     Virginia Commonwealth University/Commonwealth of Virginia (“VCU”) appeal Sabrina

              Miller’s medical-benefits award for her mental-health treatment following a workplace accident.

              VCU argues that the Workers’ Compensation Commission erred in finding sufficient evidence

              that the accident caused Miller’s need for mental-health treatment because there was “no medical

              evidence” to prove causation. We affirm, finding oral argument to be unnecessary because “the

              dispositive issue . . . ha[s] been authoritatively decided” and VCU “has not argued that the case

              law should be overturned, extended, modified, or reversed.” Code § 17.1-403(ii)(b); Rule

              5A:27(b). Miller’s testimony, combined with the medical evidence, sufficed to prove causation.




                     *
                         This opinion is not designated for publication. See Code § 17.1-413(A).
                                           BACKGROUND

       We view the evidence “in the light most favorable to [Miller,] the party prevailing

below.” Anderson v. Anderson, 65 Va. App. 354, 361 (2015) (quoting Artis v. Ottenberg’s

Bakers, Inc., 45 Va. App. 72, 83 (2005) (en banc)). We draw all reasonable inferences in

Miller’s favor. Id.
       On December 6, 2017, Miller was injured in an accident while working for VCU.1 The

injury caused pain in Miller’s back and neck that radiated to her arm as well as to her hand and

face. Surgery alleviated some of her radiating pain, but she continued to experience significant

pain in her back and neck. Miller underwent various treatments, including physical therapy,

nerve blocking, and medications, but the pain persisted. The pain deterred her from participating

in activities for fear it would worsen.

       Miller had not needed any mental-health treatment before the accident. But when the

pain treatments failed and Miller lost her job, her mental health deteriorated. She “thought [she]

was okay with the pain, but [she] wasn’t.” Miller shared her symptoms with her physician,

Dr. William Moore. In September 2021, Dr. Moore diagnosed Miller with unspecified

depression. He referred Miller for mental-health treatment to Laurie Klatt, a licensed clinical

social worker. After Miller’s first appointment, Klatt documented that Miller suffered from

depressed mood, anxiety, crying spells, sleep and appetite disturbance, and lack of energy. Klatt

found that Miller’s stressors included chronic pain, losing her job after the accident, a history of

trauma, and the COVID pandemic. Records from Miller’s follow-up appointments continued to

relate Miller’s anxiety and depression to her chronic pain and the loss of her job. One record




       1
         The record does not reveal the nature of the accident, but VCU does not dispute that
Miller’s injuries were caused by a work-related accident.
                                               -2-
noted that Miller “feels that the chronic pain and the limitations it presents affect[] her mood the

most.” Klatt related Miller’s anxiety and depression to her accident at VCU.

       Miller filed a workers’ compensation claim for her mental-health treatment. The deputy

commissioner rejected the claim after finding that Miller lacked “competent medical evidence”

to establish that the workplace accident caused her anxiety and depression. The deputy

commissioner concluded that Klatt’s opinions could not be considered because they were not

ratified by Dr. Moore.

       The Commission reversed. Although the Commission agreed that Dr. Moore had not

ratified Klatt’s opinion, that was not “dispositive.” The Commission found that Miller’s

testimony, combined with the medical evidence of her psychological symptoms and treatment,

sufficed to show that Miller’s accident caused her anxiety and depression.2 The Commission

awarded Miller medical benefits for her mental-health treatment. VCU noted a timely appeal.

                                             ANALYSIS

       The Commission’s decisions are “conclusive and binding as to all questions of fact.”

Code § 65.2-706(A). Thus, “we do not retry the facts before the Commission nor do we review

the weight, preponderance of the evidence, or the credibility of witnesses.” Jeffreys v. Uninsured

Emp’s Fund, 297 Va. 82, 87 (2019) (quoting Caskey v. Dan River Mills, Inc., 225 Va. 405, 411

(1983)). Instead, “we are bound by the [C]ommission’s findings of fact as long as ‘there was

credible evidence presented such that a reasonable mind could conclude that the fact in issue was

proved,’ even if there is evidence in the record that would support a contrary finding.” Artis, 45

Va. App. at 83-84 (quoting Westmoreland Coal Co. v. Campbell, 7 Va. App. 217, 222 (1988)).

“The [C]ommission’s determination regarding causation is a finding of fact.” City of Newport


       2
         Commissioner Rapaport dissented, concluding that the causal evidence was not
sufficient. Commissioner Marshall wrote a concurring opinion noting that the Commission’s
“treatment of this issue has been divided, inconsistent, and unpredictable.”
                                               -3-
News v. Kahikina, 71 Va. App. 536, 545 (2020) (alteration in original) (quoting Farmington

Country Club, Inc. v. Marshall, 47 Va. App. 15, 26 (2005)).

        VCU argues that the Commission could not rely on Klatt’s opinions because they were not

ratified in Dr. Moore’s treatment records. VCU also asserts that Miller’s testimony alone cannot

establish causation. To VCU, the totality of the evidence failed to show that Miller’s workplace

accident caused her anxiety and depression.

        We disagree. Even if Klatt’s causation opinion were alone insufficient because it was not

ratified by Moore,3 Miller’s testimony under the facts presented here adequately showed that the

accident caused her anxiety and depression. Thus, the record as a whole supports the Commission’s

finding that the accident caused Miller’s mental-health conditions and need for treatment.

        Miller testified that her chronic pain did not respond to medical treatment, making her afraid

to engage in activities. As a result, her mental health suffered. She initially tried to convince herself

that she was “okay” despite the pain, but she eventually had to admit to herself and her doctors that

she was suffering. Dr. Moore diagnosed her with depression and referred her to Klatt for mental-

health treatment. Miller testified that, before the accident, she did not have mental-health

symptoms and did not require any mental-health treatment. Klatt documented Miller’s repeated

reports that she could not endure her chronic pain. Miller’s testimony, together with the medical

reports, support the Commission’s conclusion that Miller’s work-related injury caused her

chronic pain, which caused her decline in mental health and her need for mental-health

treatment.


        3
         The Commission has held that the medical opinions of licensed clinical social workers
are not accepted evidence “except to the extent such opinions may be ratified and incorporated in
the medical reports of licensed physicians as their own opinions.” Rother v. Prince William
Cnty. Sch. Bd., VWC File No. 230-67-74, slip op. at 6 (Dec. 15, 2008); see also Fairfax Cnty.
Sch. Bd. v. Fish, No. 1159-02-4, 2002 Va. App. LEXIS 684, at *12 n.1 (Va. Ct. App. Nov. 19,
2002) (assuming without deciding that this interpretation of the law by the Commission is
accurate).
                                                -4-
       VCU resists this conclusion, arguing that because there are no objective tests to

determine mental-health symptoms or injuries, a claimant’s testimony cannot establish causation.

But the claimant’s testimony is not rendered irrelevant because laboratory tests cannot

conclusively establish a mental-health injury or measure its severity. We have made clear that a

claimant’s testimony under the circumstances of a particular case can suffice to prove causation.

See Farmington Country Club, 47 Va. App. at 26 (“Causation of a medical condition may be

proved by either direct or circumstantial evidence, including medical evidence or ‘the testimony

of a claimant.’” (quoting Dollar Gen. Store v. Cridlin, 22 Va. App. 171, 176 (1996))). This is

such a case.

       Relying on Summers v. Syptak, 293 Va. 606 (2017), VCU argues that Miller’s testimony

did not prove causation because it showed only that her mental-health symptoms arose after her

accident. In Summers, our Supreme Court found that a plaintiff could not prevail on her

medical-malpractice claim because she lacked expert testimony on causation and her testimony

established only that she “suffer[ed] a deterioration of several preexisting conditions after seeing

a physician.” Id. at 615.

       Summers is not controlling here because the legal standards are different. A plaintiff in a

medical-malpractice action generally must present expert testimony to establish “the appropriate

standard of care, a deviation from that standard, and that such deviation was the proximate cause of

damages.” Mayr v. Osborne, 293 Va. 74, 82 (2017) (quoting Beverly Enters.-Va., Inc. v. Nichols,

247 Va. 264, 267 (1994)). In a workers’ compensation case, by contrast, “[a] finding of causation

need not be based exclusively on medical evidence, and [Miller was] not required to produce a

physician’s medical opinion in order to establish causation.” Farmington Country Club, 47

Va. App. at 26 (citing Dollar Gen. Store, 22 Va. App. at 176-77). “Causation of a medical

condition may be proved by either direct or circumstantial evidence, including medical evidence

                                                -5-
or ‘the testimony of a claimant.’” Id. (emphasis added) (quoting Dollar Gen. Store, 22 Va. App.

at 176). Miller’s testimony here sufficed under the circumstances. She testified not just that she

experienced anxiety and depression for the first time after the accident, but she showed how the

chronic pain she experienced because of her work injuries led to her depression and her need for

mental-health treatment. And that testimony was corroborated by the records from her health-

care providers. Thus, the Commission acted within its discretion to find that Miller’s work-related

injury caused her need for mental-health treatment.

                                           CONCLUSION

       In sum, we find no basis to disturb the Commission’s award because there was credible

evidence presented to support the Commission’s conclusion that Miller’s workplace accident

caused her anxiety and depression.

                                                                                          Affirmed.




                                               -6-
